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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       CHASOM BROWN, et al.,                            Case No. 20-cv-03664-LHK (SVK)
                                   8                    Plaintiffs,                                    20-cv-5146-LHK (SVK)
                                   9             v.
                                                                                            ORDER REGARDING DEPOSITION OF
                                  10       GOOGLE LLC,                                      SUNDAR PICHAI
                                  11                    Defendant.                          Re: Dkt. Nos. 357, 360, 361
                                  12       PATRICK CALHOUN, et al.,                         (Brown action)
Northern District of California
 United States District Court




                                  13                    Plaintiffs,
                                  14             v.
                                  15       GOOGLE LLC,
                                  16                    Defendant.
                                  17            In the Brown v. Google action, the Court is in receipt of the Parties’ submissions regarding
                                  18   the deposition of Google and Alphabet CEO Sundar Pichai. Dkt. Nos. 357, 360, 361. Plaintiffs
                                  19   argue that Mr. Pichai has unique, personal knowledge of relevant issues relating to the Chrome
                                  20   browser and privacy concerns and that less intrusive means of discovering what
                                  21   Mr. Pichai knew and when he knew it have been ineffective. Defendant seeks to shield
                                  22   Mr. Pichai as an apex deponent, taking issue with Plaintiffs’ interpretation of documents produced
                                  23   by Defendant. Following receipt of the Parties’ joint submission, the Court requested and
                                  24   reviewed documents relied upon by both Plaintiffs and Defendant in their arguments.1 Dkt. Nos.
                                  25   360, 361. Having carefully considered the Parties’ submission, the Court GRANTS IN PART
                                  26
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                                         The Court received both electronic copies (under seal) and a chambers copy from Plaintiffs.
                                  28   However, as the chambers copy did not conform to the electronic copy, the Court used only the
                                       electronic copy in its review.
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                                   1   Plaintiffs’ request under the following conditions:

                                   2              •   Many of the cited documents, while conceivably relevant to Plaintiffs’ claims in

                                   3                  this case, do not appear to bear any connection to Mr. Pichai. See, e.g., GOOG-

                                   4                  BROWN-00409986; GOOG-CABR-03750737. A few documents establish that

                                   5                  specific relevant information was communicated to, and possibly from, Mr. Pichai.

                                   6                  See, e.g., GOOG-BRWN-00048967.C; GOOG-CABR-05269678.2 Accordingly,

                                   7                  Plaintiffs may depose Sundar Pichai for not more than two (2.0) hours of

                                   8                  testimony.

                                   9              •   In the event the Calhoun Plaintiffs intend to seek the deposition of Mr. Pichai, the

                                  10                  date for the deposition must be coordinated such that the witness sits for deposition

                                  11                  only once, unless the witness chooses separate dates. In the Calhoun action, an

                                  12                  independent showing under the apex standard will be required, and any time
Northern District of California
 United States District Court




                                  13                  allowed for deposition will be in addition to the time allowed in the Brown matter.

                                  14          SO ORDERED.

                                  15   Dated: December 27, 2021

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                                                                                                    SUSAN VAN KEULEN
                                  18                                                                United States Magistrate Judge
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                                        The Court’s citation to certain documents is for exemplary purposes only and is not exhaustive.
                                  28   Further, the Court’s reference to any specific document is not intended as a limitation on the scope
                                       of deposition and may not be used as a basis for objection to deposition questioning.
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